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DNJ-Cr-021 (09/2017)




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA
                                              Criminal No. 15-390
                        v.

  Igor Dubovoy                                SENTENCING SUBMISSION NOTICE
                                              OF THE UNITED STATES
                   Defendant(s).




        Please be advised that, on this date, the United States submitted sentencing

materials to the Court in this case concerning the defendant Igor Dubovoy              .


Date: February 1, 2022                          PHILIP R. SELLINGER
                                                United States Attorney


                                        By:     s/Daniel V. Shapiro
                                                Assistant U.S. Attorney
